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       EXHIBIT A
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
In re:                                                                )
                                                                      )
W. R. GRACE & CO., et al.                                             )      Chapter 11
                                                                      )
                            Debtors.                                  )      Case No. 01"01139 (JKF)
                                                                      )      (Jointly Administered)
                                                                      )
W. R. GRACE & CO.-CONN.,                                              )
                                                                      )
                            Plaintiff,                                )      Adversary No. 02-01657
                                                                      )
NATIONAL UNION FIRE INSURANCE                                         )
COMPANY OF PITTSBURGH, PA.                                            )
                                                                      )      Hearing: December 17,2007,2:00 p.m.
                            Defendant, Third Party and                )      Agenda .Item No. - ­
                            Joinder Plaintiff                         )
                                                                      )
                                                                      )
REAUD, MORGAN & QUINN, INC. and                                       )      Re: Docket Nos. 58,106,107, 112, 114
ENVIRONMENTAL LITIGATION GROUP, P.C.,                                 )
                                                                      )
                            Third-Party and Joinder                   )
                            Defendants                                )
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 ORDER AUTHORIZING DEBTORS' SETTLEMENT WITH NATIONAL UNION AND
                          CLAIMANTS

         Upon consideration of the "Debtors Motion for an Order Authorizing Settlement with
                                                        I




National Union and Claimants" (the "Motion"); and due and proper notice of the Motion having

been given; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors, I their estates and creditors, it is hereby

         ORDERED that the Motion is granted; and it is further




    I Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
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           ORDERED that the Debtors are hereby authorized to perfonn their obligations under the

Agreement; and it is further

           ORDERED that National Union Claim No. 9553 is allowed in the sums provided for in

1he Agreement; and it is further

           ORDERED that the Claimants' Claims Nos. 103, 104, 13945, 13954, 14036 and 14053

are disallowed and expunged for all purposes; and it is further

           ORDERED that upon payment by National Union of the Payment Amount, this

Adversary Proceeding shall be dismissed; and it is further

           ORDERED that the Debtors are authorized to take whatever other actions may be

necessary to consummate the transactions contemplated by the Agreement; and it is further

           ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from or relating to the implementation of this Order; and it is further

           ORDERED that this Order is effective immediately upon its entry.


Dated: December ~, 2007




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